               Case 14-10979-CSS           Doc 4443-1          Filed 05/11/15      Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           )
In re:                                                     )    Chapter 11
                                                           )
ENERGY FUTURE HOLDINGS CORP., et al.,1                     )    Case No. 14-10979 (CSS)
                                                           )
                         Debtors.                          )    (Jointly Administered)
                                                           )
                                                           )    Hearing Date: June 1, 2015 at 10:30 a.m.
                                                           )    Objection Deadline: May 26, 2015 at 4:00 p.m.

      NOTICE OF “MOTION OF ENERGY FUTURE HOLDINGS CORP., ET AL.,
        FOR AN ORDER AUTHORIZING ENTRY INTO AND PERFORMANCE
          UNDER THE STIPULATION BETWEEN LUMINANT GENERATION
        COMPANY LLC AND CB&I STONE & WEBSTER, INC., PURSUANT TO
       SECTION 363(b) OF THE BANKRUPTCY CODE AND RULE 9019 OF THE
    FEDERAL RULES OF BANKRUPTCY PROCEDURE” AND HEARING THEREON

         PLEASE TAKE NOTICE that, on May 11, 2015, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the attached Motion of Energy Future

Holdings Corp., et al., for an Order Authorizing Entry Into and Performance Under the

Stipulation Between Luminant Generation Company LLC and CB&I Stone & Webster,

Inc., Pursuant to Section 363(b) of the Bankruptcy Code and Rule 9019 of the Federal

Rules of Bankruptcy Procedure (the “Motion”) with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing, filed with the Clerk of the Bankruptcy Court, 824 North Market Street, 3rd




         1
           The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided herein.
A complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.efhcaseinfo.com.



RLF1 11960121v.1
               Case 14-10979-CSS    Doc 4443-1      Filed 05/11/15       Page 2 of 3




Floor, Wilmington, Delaware 19801, and served upon and received by the undersigned co-

counsel for the Debtors on or before May 26, 2015 at 4:00 p.m. (Eastern Daylight Time).

         PLEASE TAKE FURTHER NOTICE that if an objection is timely filed, served and

received and such objection is not otherwise timely resolved, a hearing to consider such

objection and the Motion will be held before The Honorable Christopher S. Sontchi at the

Bankruptcy Court, 824 North Market Street, 5th Floor, Courtroom 6, Wilmington, Delaware

19801 on June 1, 2015 at 10:30 a.m. (Eastern Daylight Time).

        IF NO OBJECTIONS TO THE MOTION ARE TIMELY FILED, SERVED AND

RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY

GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.

                         [Remainder of page intentionally left blank.]




                                              2
RLF1 11960121v.1
               Case 14-10979-CSS   Doc 4443-1    Filed 05/11/15    Page 3 of 3




Dated: May 11, 2015                        /s/ Jason M. Madron
       Wilmington, Delaware         RICHARDS, LAYTON & FINGER, P.A.
                                    Mark D. Collins (No. 2981)
                                    Daniel J. DeFranceschi (No. 2732)
                                    Jason M. Madron (No. 4431)
                                    920 North King Street
                                    Wilmington, Delaware 19801
                                    Telephone:     (302) 651-7700
                                    Facsimile:     (302) 651-7701
                                    Email:         collins@rlf.com
                                                   defranceschi@rlf.com
                                                   madron@rlf.com
                                    -and-

                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    Edward O. Sassower, P.C. (admitted pro hac vice)
                                    Stephen E. Hessler (admitted pro hac vice)
                                    Brian E. Schartz (admitted pro hac vice)
                                    601 Lexington Avenue
                                    New York, New York 10022-4611
                                    Telephone:     (212) 446-4800
                                    Facsimile:     (212) 446-4900
                                    Email:         edward.sassower@kirkland.com
                                                   stephen.hessler@kirkland.com
                                                   brian.schartz@kirkland.com
                                    -and-

                                    James H.M. Sprayregen, P.C. (admitted pro hac vice)
                                    Marc Kieselstein, P.C. (admitted pro hac vice)
                                    Chad J. Husnick (admitted pro hac vice)
                                    Steven N. Serajeddini (admitted pro hac vice)
                                    300 North LaSalle
                                    Chicago, Illinois 60654
                                    Telephone:      (312) 862-2000
                                    Facsimile:      (312) 862-2200
                                    Email:          james.sprayregen@kirkland.com
                                                    marc.kieselstein@kirkland.com
                                                    chad.husnick@kirkland.com
                                                    steven.serajeddini@kirkland.com

                                    Co-Counsel to the Debtors and Debtors in Possession




                                           3
RLF1 11960121v.1
